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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )          4:08CR3009
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )          ORDER
WILLIAM ANDRE BETTS,                          )
                                              )
                     Defendant.               )

      On the court’s own motion, and to accommodate a change in the undersigned’s
schedule,

       IT IS ORDERED that:

       (1)    The hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 214) has been set before the undersigned United States district judge on
Friday, February 4, 2011, at 11:30 a.m., in Courtroom No. 1, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.

       (2)   The United States Marshal is directed to return the defendant to the district for
the hearing.

       Dated January 27, 2011.

                                           BY THE COURT:

                                           Richard G. Kopf
                                           United States District Judge
